                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
____________________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,
      v.                                                          Case No. 08-CR-231

TONY N. ORTIZ,

               Defendant.
____________________________________________

                                       ORDER

      On September 23, 2008, a federal grand jury sitting in this district returned a

three-count indictment against defendant Tony Ortiz (“Ortiz”) and eleven co-

defendants. Ortiz is charged in Count One with conspiracy to distribute and possess

with intent to distribute five kilograms or more of a mixture and substance containing

cocaine in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846 and 18 U.S.C. § 2. Ortiz

is also charged in Count Three with knowingly and intentionally distributing 500

grams or more of a mixture and substance containing cocaine in violation of 21

U.S.C. § 841(b)(1)(B) and 18 U.S.C. § 2.

      The indictment initially was sealed. On January 6, 2011, the indictment was

redacted as to the defendant and he appeared before United States Magistrate

Judge Nancy Joseph for arraignment, entering a plea of not guilty. Pursuant to the

pretrial scheduling order issued at that time, Ortiz filed a motion to sever defendants.

(Docket #131). The defendant is seeking to have his case severed from that of co-

defendant Juan Almendarez (“Almendarez”) for trial, pursuant to Fed. R. Crim. P. 14



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and Bruton v. United States, 391 U.S. 123 (1968). There is no dispute that if

defendant Ortiz and co-defendant Almendarez were tried together, a Bruton issue

would be presented.1 However, the government opposes the motion to sever,

arguing that severance is premature at this point because defendant Almendarez

may not proceed to trial, thereby negating any Bruton problem. Accordingly, the

government requests that the motion be taken under advisement and be addressed

when the case is in a trial posture. In reply, the defendant indicated he has no

objection to the court taking the motion under advisement at this time. Nevertheless,

on March 17, 2011, Magistrate Judge Patricia J. Gorence considered and granted

the motion to sever, reasoning that delaying a decision for an unspecified period until

a possible plea agreement can be reached with co-defendant Almandarez “does

not comport with the spirit and terms of the Speedy Trial Act.” (Magistrate

Recommendation at 3). In response, the government filed an objection to the

magistrate’s order.

       Because Ortiz’s motion to sever is a nondispositive pretrial motion, the court

will only disturb the magistrate’s order if it was clearly erroneous or otherwise

contrary to law. See 28 U.S.C. § 636(b)(1)(A); Fed.R.Crim.P. 59(a) (defining




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         Under Bruton, admission of a co-defendant’s confession inculpating the defendant at a joint
trial where the co-defendant does not testify violates the defendant’s Sixth Amendment right to
confrontation as he is precluded from cross-examination. 391 U.S. at 127-28. Here, the principal
evidence against the defendant includes the confession of Almendarez implicating the defendant,
thus presenting a classic Bruton scenario.

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procedure for nondispositive motions before a magistrate judge). The court finds

that it was not.

       The government argues the magistrate wrongly assumed that granting of the

motion to sever will result in a speedier trial for Ortiz. The government reasons “the

trial court might well conclude that Ortiz’s trial should follow that of Almandarez and

the rest.” (Pl.’s Objection at 2). Though the determination of whether Ortiz’s trial

should follow the trials of Almandarez and the rest of the co-defendants may prove

to be the proper way to proceed, this does not change the court’s concerns over the

defendant’s speedy trial rights. This concern is exacerbated by the fact that the

speedy trial dates for Almendarez, and at least five other co-defendants, are set to

expire on April 11, 2011, while Ortiz’s speedy trial date is quickly approaching on

April 15, 2011. Despite the imminency of these dates, no trial date and no request

for additional excludable time under the Act has been sought by the government for

any defendant. The Speedy Trial Act serves an important purpose and it is not to

be dealt with nonchalantly. In light of the already lengthy time line of this case, the

court finds it both in the interests of justice and in the interests of administration of

the Speedy Trial Act to grant the motion to sever.         In the event co-defendant

Almendarez resolves his case short of trial, the court sees no great inconvenience

in consolidating the defendant’s case with that of the remaining co-defendants

should it become appropriate.

      Accordingly,



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     IT IS ORDERED that the magistrate’s order granting defendant’s motion to

sever (Docket #139) be and the same is hereby AFFIRMED.

     Dated at Milwaukee, W isconsin, this 8th day of April, 2011.

                                            BY THE COURT:




                                            J.P. Stadtmueller
                                            U.S. District Judge




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